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JOHN L GANNON # 1975
Attorney at Law

2309 Mountain View Drive #174
Boise, Idaho 83706
208-433-0629

Attorney for Plaintiff
johngannon200@gmail.com

IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

SUSAN CHEW; MARIANNE “MUFFY”

DAVIS

CASE NO.
Plaintiffs

Vv AFFIDAVIT OF ILANA RUBEL

THE LEGISLATURE OF THE STATE OF

IDAHO; SCOTT BEDKE in his capacity as

ADMINISTRATOR OF THE

HOUSE OF REPRESENTATIVES

Defendants

ee

 

STATE OF IDAHO )
County of Ada )

ILANA RUBEL being first duly sworn deposes and says:

I, Ilana Rubel, am the House Minority Leader of the Idaho House of Representatives.
Unless stated otherwise, I have personal knowledge of the facts stated herein.

As the coronavirus pandemic has unfolded, multiple members of my caucus, including
Representatives Susan Chew and Muffy Davis, have informed me that they have health
conditions that would place them in danger of death or long-term injury if they were to contract
COVID. Accordingly, I have lodged multiple requests with House Republican leadership to

secure safer working conditions for the operation of the Legislature.

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Prior to the special session beginning August 24, 2020, I contacted Speaker Scott Bedke
regarding safety protocols for that session. He informed me that there would be no mask
requirement for those in attendance. When in session, there are approximately 75 people in a
closed room sitting and socializing in close proximity. With most members declining to wear
masks, I was gravely concerned about the safety implications of a session that would proceed in
contravention of the safety protoco!s recommended by the Center for Disease Control, the
Central District Board of Health, the City of Boise and the recommendations of any other health
authority with which I am familiar.

Accordingly, I asked Speaker Bedke to arrange for House members who so desired to be
provided with socially distanced seating in the gallery of the House from which they could
participate under safer conditions. He graciously agreed and directed staff to cordon off an area
in the gallery for such seating, however before the session gaveled in on the morning of August
24, an angry crowd broke down the door to the gallery, removed all the ropes and signs marking
the legislators’ seating, and occupied all the seats. Thus, all members, including those with
serious medical conditions, were forced to sit in close seating on the floor among members who
were overwhelmingly unmasked.

Similarly, committees that convened during that special session were held in crowded
committee rooms sometimes holding over 80 people, almost none of whom were masked. In
order to participate in hearings, legislators were forced to attend in person in a closed room in
proximity to scores of unmasked people. Members of my caucus repeatedly expressed concern
about the health risks this posed to themselves and their families.

Several months later, beginning on December 3, 2020, the House reconvened for an

organizational session to receive committee assignments, select seats on the House floor and

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select member offices. The majority of House members are officed in cubicles in the basement
level of the Capitol. These cubicles have no doors, the walls do not reach the ceiling, and they do
not have their own bathroom areas. However, due to a recent renovation, there would be ten new

offices available for selection that had doors, were fully enclosed, and had their own bathroom.

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Photograph of the House Organizational Session

The House rules provide that, after House leadership, individuals with disabilities have
the first choice of floor seats, and after that seats are selected based on seniority. Traditionally,
office selection has proceeded in the same order. The two members of my caucus with the most
severe health concerns and risks related to potential COVID exposure are Representative Muffy
Davis, who is paraplegic and wheelchair-bound, and Representative Susan Chew, who suffers
from diabetes and diminished lung capacity (and is also one of the most senior members of the
legislature). Heading into the organizational session I was happy that under the traditional

selection order, weighting seniority and disability status, both Representatives Chew and Davis

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would be able to select the new fully enclosed offices with doors, walls, and protected bathroom
access. This would substantially protect them from excess COVID exposure during the times that
they are not in committee or on the floor. I repeatedly expressed to Majority House Caucus
Chair Megan Blanksma and House Speaker Scott Bedke that it was critical that Muffy Davis be
placed in one of these enclosed offices for her health and safety.

On the morning of December 4, 2020, I was informed by Speaker Bedke that,
notwithstanding traditions of seniority and disability selection priority, no Democrats would be
permitted to occupy any of the ten new offices, and other than Democratic leadership, the
Democratic caucus members would all be assigned to cubicles in the basement level.

I then asked whether the Speaker would at least require that masks be worn in the room
containing the cubicles of Representatives Davis and Chew. He responded that he would not
require masks anywhere in the Capitol, including in the cubicle area where our members with
health conditions are officed.

Following the organizational session, I had several conversations with Speaker Bedke
regarding safety protocols for the legislative session beginning January 11, 2021. Understanding
that there would be no mask requirement, I asked if legislators would be permitted to participate
remotely in committee hearing. He responded that while there may be accommodations for
members of the public to testify remotely at hearings, legislators would be required to attend in
person, and that, as with the special session, there would be no masks required for anyone in
attendance.

After these conversations, I remained deeply concerned for the safety of my caucus, and
in particular for Representatives Chew and Davis. As Speaker Bedke had made clear there would

be no mask requirements or possibility for virtual participation, I sent a joint letter with Senator

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Michelle Stennett, the Senate Minority Leader, to Speaker Bedke and Senate Pro Tem Chuck
Winder asking for their support of a delay in session to allow for broader administration of
vaccines to those who desired to be vaccinated. They responded that they would not seek or
support any such delay.

Thus, despite diligent efforts to protect legislators with disabilities from entering into a
potentially extremely dangerous situation, they are now facing an imminent session in which
they will be on the House floor and in committee hearings, in closed, crowded spaces with large
numbers of unmasked people in the height of an historic pandemic.

tA
Dated this bo day of January, 2021

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By/ ;

““TILANA RUBEL

SUBSCRIBED AND SWORN TO before me this (_ day of January, 2021

 

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COMMISSION NUMBER 60924 Residingat_beye,ZD
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State of Idaho
My Commission Expires 01/10/2025

 

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